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ALLISON L. SPRUILL
TX STATE BAR NO. 00789644
6805 N. Capital of Texas Hwy. #330
Austin, TX 78731
Telephone: (512) 257-2104
Facsimile: (512) 250-2058
E-mail: firm@bestandspruill.com
ATTORNEYS FOR PLAINTIFF,
KRS PROPERTIES, LLC


JEFF CARRUTH
TX STATE BAR NO.24001846
2608 Hibernia, Suite 105
Dallas, Texas 75204-2514
Telephone: (713) 341-1158
Fax: (713) 961-5341
E-mail: jcarruth@wkpz.com
CO-COUNSEL FOR PLAINTIFF,
KRS PROPERTIES, LLC


TRENT KREINKE
TX STATE BAR NO. 24057951
5608 Parkcrest Drive, Suite 200
Austin, TX 78731
Telephone: (512) 660-5960
Fax: (512) 660-5979
E-mail: tkrienke@reedclaymon.com
COUNSEL FOR WEST
WHARTON HOSPITAL DISTRICT
